Case 8-22-72048-las   Doc 64-1   Filed 11/18/22   Entered 11/18/22 15:10:48




                                 Exhibit A

                           Receivership Order
Case 8-22-72048-las   Doc 64-1   Filed 11/18/22   Entered 11/18/22 15:10:48
Case 8-22-72048-las   Doc 64-1   Filed 11/18/22   Entered 11/18/22 15:10:48
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